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                             STATEMENT OF FACTS

       Your affiant, Michael Bauknight, is a Special Agent of the Federal Bureau of
Investigation (FBI) assigned to the Washington Field Office in Washington, D.C. As
a Special Agent with the FBI, I have been involved in the use of the following
investigative techniques: interviewing informants and cooperating witnesses,
conducting physical surveillance, supporting undercover operations, and executing
search and arrest warrants that have led to seizures of contraband. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

      The United States Capitol Building (“Capitol”) is secured twenty-four hours a
day by U.S. Capitol Police (“USCP”). Restrictions around the Capitol include
permanent and temporary security barriers and posts manned by the USCP. Only
authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to
members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at
the Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United
States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place
on November 3, 2020. The joint session began at approximately 1:00 PM. Shortly
thereafter, at approximately 1:30 PM, the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside
the Capitol. As noted above, both temporary and permanent barricades were in place
around the exterior of the Capitol, and members of the USCP were present and
attempting to keep the crowd away from the Capitol building and the proceedings
underway inside.

       At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the
USCP attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly around 2:00 PM, individuals in the crowd forced entry into the
Capitol, including by breaking windows and by assaulting members of the USCP, as
others in the crowd encouraged and assisted those acts.
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       Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and Senate, including the President of the Senate and Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of Congress was effectively suspended until shortly after 8:00 PM. Vice
President Pence remained in the Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage—
which appeared to be captured on mobile devices of persons present on the scene—
depicted evidence of violations of local and federal law, including scores of individuals
inside the Capitol building without authority to be there.

        At approximately 2:28 PM, in the West Plaza of the Capitol, rioters continued
attacking law enforcement and attempting to breach the police line. Not long after the
initial surge, rioters broke through the police line and soon the West Plaza was
overrun. The mob quickly turned violent. Rioters attacked USCP with fists, fire
extinguishers, and “bike rack” style barricades.




Figures 1 and 2—Two photographs showing (top) the Lower West Terrace of the Capitol and (bottom) a closeup of the
Tunnel Entrance to the Capitol from the Lower West Terrace. As described below, MUNAFO struck a USCP officer twice
and ripped a riot shield from the USCP officer’s hands in front of the Tunnel Entrance (approximate location marked with a
single red star), and damaged a window of the Capitol using a flagpole (approximate location marked with two red stars).
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       At approximately 2:36 PM, USCP fell back into the Capitol via the
Arch/Tunnel Entrance. For the next two-and-a-half hours, until approximately 5:10
PM, rioters continued attacking USCP and attempting to force themselves inside. At
a certain time during the battle of the Lower West Terrace, just outside of the Tunnel,
a video captured an individual wearing a black hooded jacket striking a USCP officer
twice in the head and body with a closed fist before violently ripping the officer’s riot
shield out of his hands. Once he took it out of the officer’s hands, the individual then
passed the riot shield back to others in the crowd behind him. Certain internet sites
assigned this individual the hashtag “#boyinthehood.” As described below, your
affiant now identifies this individual as the defendant, Jonathan J. MUNAFO.




Figure 3—Screenshot from the FBI's Be On the Lookout (BOLO) video alert for suspect # 170 – AFO, posted on YouTube.
These screenshots show MUNAFO punching a USCP officer twice in the head before ripping the officer's riot shield out of his
hands.




Figures 4 and 5—Two screenshots from open source videos showing MUNAFO striking the USCP officer with a closed fist.
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Figures 6 and 7—Two screenshots from open source videos showing MUNAFO pulling the USCP riot shield away from the
USCP officer. Once MUNAFO succeeded in pulling the riot shield away from the USCP officer, he passed it to others in the
crowd behind him.
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       At another point in time, MUNAFO was in front of the window of the Capitol
marked with two red stars in Figure 2 above. An unidentified individual handed
MUNAFO a wooden flagpole with a flag attached. The attached flag appears to be a
combination of the flag of the United States and what’s known as the Gadsden flag.
MUNAFO struck a window of the Capitol several times in an apparent attempt to
break the window.




Figures 8 and 9—(left) a screenshot from open source videos showing MUNAFO (circled in red) receiving a flagpole with
what appears to be a combination of the flag of the United States and what’s known as the Gadsden flag, and (right) an image
of the full version of the flag of the United States combined with the Gadsden flag.




Figures 10 and 11—(left) a screenshot from open source videos showing MUNAFO holding a flagpole with the
U.S./Gadsden flag attached, and (right) an image of MUNAFO (circled in red) striking a window of the Capitol with a
flagpole.
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Figures 12, 13, and 14—(left) a screenshot from open source videos showing MUNAFO striking a window of the Capitol
with a flagpole, (middle) a screenshot showing MUNAFO holding a flagpole, and (right) a photo showing MUNAFO in front
of the Capitol with a raised fist.

       On March 18, 2021, the Federal Bureau of Investigation (FBI) released videos
of assaults on officers at the Capitol as part of an effort to seek the public’s help
identifying suspects.1 The FBI identified suspect # 170 – AFO as one of the top ten
most wanted Capitol Violence suspects for his assault on a federal officer (AFO). The
FBI included three photographs with its BOLO.




Figures 15, 16, and 17—(from left to right) three photographs (170 – AFO A, 170 – AFO B, and 170 – AFO C) published
by the FBI while seeking the public’s help in identifying suspect # 170.



1
 https://www.fbi.gov/contact-us/field-offices/washingtondc/news/press-releases/fbi-washington-field-
office-releases-videos-of-assaults-on-officers-at-us-capitol-seeks-publics-help-to-identify-suspects (last accessed
April 22, 2021).
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       On or about April 16, 2021, an agent from the FBI spoke with an individual (ID
WITNESS 1) regarding MUNAFO. ID WITNESS 1 indicated that he has known
MUNAFO for years, and that MUNAFO had told ID WITNESS 1 that he wanted to
go to the rally in Washington, D.C., on January 6, 2021. When agents showed ID
WITNESS 1 the photo labeled as Figure 17 above, ID WITNESS 1 stated in sum and
substance: I BELIEVE IT IS HIM IN THE PICTURE.

       On or about April 17, 2021, an agent from the FBI spoke with an individual (ID
WITNESS 2) who saw the FBI’s BOLO for suspect # 170 – AFO. ID WITNESS 2
indicated that they knew MUNAFO for approximately twenty years and for a long
time considered him a friend. ID WITNESS 2 identified suspect # 170 – AFO as
Jonathan MUNAFO, stating in sum and substance: I KNOW IT’S HIM.

       Upon review of publicly available social media, law enforcement located a
Twitter account with the name Jonathan Munafo and the handle @therightstuff87. I
believe that the individual in the profile photo of the Twitter account is the same person
as suspect # 170 – AFO.




Figure 18—A screenshot showing the Twitter account of Jonathan Munafo with the handle @therightstuff87.
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       Your affiant further states that law enforcement reviewed an interview that
MUNAFO gave to news media in February 20202. In the video of the interview
(Figure 19, below), MUNAFO is identified as John Munafo and is wearing what
appears to be the same jacket that he wore in the January 6, 2021, attack on the
Capitol. The logo for The North Face and the zipper pulls in Figures 14 and 19 match.




Figure 19—A screenshot from an interview that MUNAFO gave while attending a Trump rally in Manchester, NH.


       Your affiant further states that law enforcement has obtained and reviewed the
driver’s license photograph for Jonathan J. Munafo out of New York State, and I
believe that the individual in that driver’s license photo is the same individual,
specifically, Jonathan J. MUNAFO, who is shown in the FBI BOLO # 170 – AFO
and in the open source photographs and videos showing #boyinthehood on the Lower
West Terrace assaulting a federal officer and striking a window of the Capitol with a
flagpole as part of the January 6, 2021, attack on the Capitol.

        Based on the foregoing, your affiant submits there is probable cause to believe
that Jonathan J. MUNAFO violated 18 U.S.C. § 111(a)(1), by forcibly assaulting,
resisting, opposing, impeding, intimidating, or interfering with any person designated
in 18 U.S.C. § 1114 while engaged in or on account of the performance of official
duties. For purposes of 18 U.S.C. § 111, a designated person includes any officer or

2
 https://www.wmur.com/article/president-trump-rally-scheduled-for-monday-night-in-manchester-road-
closures-start-7-am/30841978
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employee of the United States or of any agency in any branch of the United States
Government (including any member of the uniformed services), or any person
assisting such an officer or employee in the performance of or on account of official
duties.

        Your affiant further submits that there is probable cause to believe that Jonathan
J. MUNAFO violated 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; (2) knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; and (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds;
or attempts or conspires to do so. For purposes of 18 U.S.C. § 1752, a “restricted
building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national
significance.

       Your affiant further submits that there is probable cause to believe that Jonathan
J. MUNAFO violated 18 U.S.C. § 1752(b)(1)(A), which makes it a crime to commit a
violation of 18 U.S.C. § 1752(a) while using or carrying a deadly or dangerous weapon
or firearm during and in relation to the offense.

       Your affiant further submits there is probable cause to believe that Jonathan J.
MUNAFO violated 40 U.S.C. § 5104(e)(2)(D) and (F) which make it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (F) willfully and knowingly engage in an act of physical violence in the
Grounds or any of the Capitol Buildings.
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       I base the facts set forth in this affidavit upon my personal knowledge,
information obtained during the investigation, review of documents and video to
include social media and official government records, knowledge obtained from other
individuals including law enforcement personnel, and documentation of
communications with others who have personal knowledge of the events and
circumstances described herein.



                                            _________________________________
                                            Michael Bauknight
                                            Special Agent
                                            Federal Bureau of Investigation

      Attested to by the applicant in accordance with the requirements of Fed. R.
Crim. P. 4.1 by telephone, this 23rd day of April 2021.
                                                             2021.04.23
                                                             13:30:47 -04'00'
                                            _________________________________
                                            ZIA M. FARUQUI
                                            U.S. MAGISTRATE JUDGE
